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     UNITED STATES DISTRICT COURT                                                                                              TRANSCRIPT ORDER                                                                        COURT USE ONLY
    NORTHERN DISTRICT OF CALIFORNIA                                                                                   Please use one form per court reporter.                                                                DUE DATE:
                         CAND 435                                                                                       CJA counsel please use Form CJA24
                     (CAND Rev. 02/2015)                                                                              Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                                                     2a. CONTACT PHONE NUMBER                                                   3. CONTACT EMAIL ADDRESS


1b. ATTORNEY NAME (if different)                                                                      2b. ATTORNEY PHONE NUMBER                                                  3. ATTORNEY EMAIL ADDRESS


4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                                         5. CASE NAME                                                                               6. CASE NUMBER




                                                                                                                                  8. THIS TRANSCRIPT ORDER IS FOR:

7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX)ȹ ޫ FTR                                                               倯 APPEAL             倯 CRIMINAL      倯 In forma pauperis (NOTE: Court order for transcripts must be attached)
                                                                                                                                  倯 NON-APPEAL         倯
                                                                                                                                                       ✔ CIVIL         CJA: Do not use this form; use Form CJA24.

9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

    a.              HEARING(S) (OR PORTIONS OF HEARINGS)                                                       b.             SELECT FORMAT(S) (NOTE: ECF access is included         c.         DELIVERY TYPE ( Choose one per line)
                                                                                                                              with purchase of PDF, text, paper or condensed.)

         DATE               JUDGE               TYPE                                PORTION                           PDF        TEXT/ASCII    PAPER       CONDENSED   ECF ACCESS   ORDINARY      14-Day   EXPEDITED       DAILY               HOURLY     REALTIME
                            (initials)                                 If requesting less than full hearing,        (email)        (email)                   (email)      (web)      (30-day)                (7-day)     (Next day)             (2 hrs)
                                             (e.g. CMC)               specify portion (e.g. witness or time)

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10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:



ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                                                   12. DATE

11. SIGNATURE



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